 Case 3:22-cv-02188-D-BN Document 50 Filed 11/02/23                   Page 1 of 9 PageID 581



                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF TEXAS
                            DALLAS DIVISION
Sonya L. Chapman,                   §
      Plaintiff,                    §
                                    § Civil Action No. 3:22-cv-2188-D-BN
v.                                  §
                                    § (Consolidated with No. 3:23-cv-799-D-BN)
ADT LLC,                            §
      Defendant.                    §
                   DEFENDANT’S REPLY IN SUPPORT OF
       MOTION TO DISMISS PLAINTIFF’S SECOND AMENDED COMPLAINT
       The Court should grant Defendant’s Motion to Dismiss Plaintiff’s Second Amended

Complaint and Brief in Support (“Motion to Dismiss”) [Doc. 39] and dismiss all causes of action

alleged in Plaintiff’s Second Amended Complaint (“Complaint”) [ECF No. 27] with prejudice. In

support, Defendant ADT LLC (“ADT”) shows the following:

                                          I.
                                PRELIMINARY STATEMENT
       As a preliminary matter, Chapman’s argument that ADT’s Motion to Dismiss should be

denied based on the Court’s observation in its Order of Re-Reference [ECF No. 22] that her earlier

pleadings “arguably state at least one plausible discrimination claim” is misplaced. Order of Re-

Reference at 1. See Response at 6, 12, 28. The Court’s order did not find that Chapman had actually

alleged a plausible claim of discrimination—only “arguably”—and observed her pleadings “are still

largely conclusory[.]” Order of Re-Reference at 1.

                                                II.
                                              REPLY
       Chapman’s Response fails to identify any well-pleaded facts or arguments against dismissal

of her claims in the Complaint and thus ADT’s Motion to Dismiss should be granted. As it has been

repeatedly noted, FED. R. CIV. P. 8 does not mandate that a complaint contain detailed factual

allegations, but it must allege more than mere labels and conclusions to survive dismissal under FED.



DEFENDANT’S REPLY IN SUPPORT OF MOTION TO DISMISS PLAINTIFF’S SECOND AMENDED COMPLAINT—Page 1
FP 48676092.1
 Case 3:22-cv-02188-D-BN Document 50 Filed 11/02/23                     Page 2 of 9 PageID 582



R. CIV. P. 12(b)(6). Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007). In essence, a

complaint must contain sufficiently specific allegations that “raise a right to relief above the

speculative level[.]” Id. at 555. While well-pleaded allegations in a complaint must be accepted as

true, the Court is not required to “accept as true a legal conclusion couched as a factual allegation”

and “[t]eadbare recitals of the elements of a cause of action, supported by mere conclusory

statements” will not suffice. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). In essence, to meet Iqbal’s

plausibility standards, Chapman’s Complaint must plead “factual content allows the court to draw

the reasonable inference that the defendant is liable for the misconduct alleged.” Iqbal, 556 U.S. at

663. Chapman’s Response fails to provide any meaningful basis to show her Complaint raises any

plausible claims and thus ADT’s Motion to Dismiss should be granted.

A.     Chapman’s Complaint fails to allege a plausible basis for her allegations of disparate
       treatment and retaliation.
       i.      Disparate Treatment
       Chapman’s Response fails to identify any well-pleaded facts in her Complaint capable of

demonstrating a plausible claim under Title VII or Chapter 21 of the Texas Labor Code. Plaintiff

makes only conclusory statements that she experienced disparate treatment during her employment

with Defendant—Plaintiff’s Complaint sets forth absolutely no facts linking disparate treatment she

was allegedly subjected to with a characteristic protected under Title VII or Chapter 21. See Raj v.

Louisiana State Univ., 714 F.3d 322, 331 (5th Cir. 2013) (dismissal proper where plaintiff “did not

allege any facts, direct or circumstantial, that would suggest [defendant]’s actions were based on

[plaintiff]’s race or national origin or that [defendant] treated similarly situated employees of other

races or national origin more favorably”).

       While she alleges that she was the “only African American employee discharged during on-

the job training for unprofessional behavior and inability to perform[,]” Complaint at 68, Chapman



DEFENDANT’S REPLY IN SUPPORT OF MOTION TO DISMISS PLAINTIFF’S SECOND AMENDED COMPLAINT—Page 2
FP 48676092.1
 Case 3:22-cv-02188-D-BN Document 50 Filed 11/02/23                    Page 3 of 9 PageID 583



does not identify any well-pleaded, non-conclusory allegations that show individuals outside of her

protected category received more favorable treatment. See Fields v. Kelley, 2023 WL 6299858, at *3

(N.D. Tex. Aug. 8, 2023), report and recommendation adopted, 2023 WL 6300701 (N.D. Tex. Sept.

26, 2023) (noting that discrimination based on race “must allege facts, direct or circumstantial, that

would suggest the employer’s actions were based on the plaintiff’s race or national origin or that the

employer treated similarly situated employees of other races or national origin more favorably”)

(citations and quotation marks omitted). Chapman’s Complaint merely lists a series of non-African

American individuals who sought support—she does not allege any well-pleaded facts that show any

of these individuals received more favorable treatment than she did under nearly identical

circumstances (notably her unprofessional behavior and inability to perform). See Fields, 2023 WL

6299858, at *4 (discrimination claim failed where plaintiff “fail[ed] to plausibly show that the other

manager counts as a required comparator, an individual of a different race than [plaintiff] under

nearly identical circumstances who was treated more favorably”) (citations and quotation marks

omitted).

       Similar pleading deficiencies apply to the other grounds of discrimination Chapman alleges

in her Complaint. For example, Chapman alleges that ADT engaged in sex discrimination because

she was terminated while a male employee received a promotion “while admitting to asking

questions during or after training” without providing any specificity as to how the male employee

was similarly situated under nearly identical circumstances. Complaint at 10. Moreover, Chapman’s

allegations that ADT “allowed all of the female training class to be promoted without incident when

they had the same or similar questions and issues with the training materials”—contradict any

plausible basis for sex discrimination. Id. See Chambliss v. Entergy Corp., 2023 WL 7114669, at

*10 (E.D. La. Oct. 27, 2023) (“[b]eing treated differently than another employee in the same



DEFENDANT’S REPLY IN SUPPORT OF MOTION TO DISMISS PLAINTIFF’S SECOND AMENDED COMPLAINT—Page 3
FP 48676092.1
 Case 3:22-cv-02188-D-BN Document 50 Filed 11/02/23                      Page 4 of 9 PageID 584



protected class does not create an inference of discrimination . . . [the] appropriate comparator

requires Plaintiff to establish that a similarly situated employee not in his protected class was treated

differently in nearly identical circumstances”). Chapman’s age discrimination claim fails to make a

plausible case of age discrimination—the Complaint notes “two white females over age 40” and one

“white male over the age of 40” who she alleges received different treatment but not allege any well-

pleaded facts regarding comparators under 40 years old who received more favorable treatment

under nearly identical circumstances. Complaint at 10, 15.

        And Chapman’s hostile work environment claim fares even worse, as it is merely based on

conclusory statements such as her contention that “the work environment was hostile and that the

environment altered the conditions of her employment.” Complaint at 18. The Complaint fails to

allege any well-pleaded facts that would allow the Court to make the reasonable inference that ADT

is liable for such discrimination—indeed, Chapman’s allegations are merely her contentions, beliefs,

or speculation. Id. But Chapman’s subjective belief that she was discriminated against based upon

her race, gender, age, or national origin is insufficient to create an inference of discrimination.

Vasquez v. Nuences Cty., Tex., 551 F. App’x 91, 94 (5th Cir. 2013).

        Fundamentally, Chapman alleges no well-pleaded facts that link any alleged disparate

treatment by ADT with her membership in a protected class. See Raj v. Louisiana State Univ., 714

F.3d 322, 331 (5th Cir. 2013) (affirming dismissal where plaintiff “did not allege any facts, direct or

circumstantial, that would suggest [defendant]’s actions were based on [plaintiff]’s race or national

origin or that [defendant] treated similarly situated employees of other races or national origin more

favorably”).

        ii.     Retaliation
        Despite asserting a claim for retaliation, Chapman’s Complaint alleges no well-pleaded facts

showing that she engaged in “protected activity” by either (1) opposing any practice made an

DEFENDANT’S REPLY IN SUPPORT OF MOTION TO DISMISS PLAINTIFF’S SECOND AMENDED COMPLAINT—Page 4
FP 48676092.1
 Case 3:22-cv-02188-D-BN Document 50 Filed 11/02/23                     Page 5 of 9 PageID 585



unlawful employment practice under Title VII or Chapter 21, or (2) making a charge, testifying,

assisting, or participating in any manner in an investigation, proceeding, or hearing under Title VII

or Chapter 21. 42 U.S.C. § 2000e-3(a); Tex. Lab. Code § 21.055; see also Grimes v. Tex. Dep’t of

Mental Health & Mental Retardation, 102 F.3d 137, 140 (5th Cir. 1996). Far from complaining

about unlawful conduct, Chapman’s allegations in her Complaint focus on her disagreement with

ADT’s actions:

        Plaintiff did not gain the favor of Defendants during training. Plaintiff did not agree
        with the Defendants not allowing her to take notes during training thus singling her
        out. Plaintiff expressed her disagreement to not taking notes by asking to take notes
        when Defendants gave instructions, thus singling her out. Plaintiff did not agree with
        the Defendants making false negative performance reviews, thus singling her out.

Complaint at 18 ¶ 22. As noted previously, however, complaining about treatment without a

connection to an unlawful employment practice under Title VII or Chapter 21 is simply insufficient

to state claim for retaliation. See, e.g., McKinney v. Bolivar Medical Center, 341 Fed. App’x. 80 (5th

Cir. 2009) (confirming summary judgement dismissal of retaliation claim where the plaintiff did not

engage in protected activity). Importantly, Plaintiff’s pleadings fail to establish the requisite causal

connection between any protected activity and any adverse employment action she suffered. See

Univ. of Tex. Sw. Med. Ctr. v. Nassar, 570 U.S. 338, 360 (2013).

        Despite the argument in her Response that she “contends the causal connection to her

treatment and ultimately her termination is linked to her opposition to the treatment based on her

race, sex, and age[,]” Chapman’s Complaint lacks any well-pleaded facts that shows ADT was even

aware of Chapman’s purported protected activity, thus dismissal is warranted. See Baker v. Univ. of

Tex. Sw. Med. Ctr., No. 3:19-CV-3020-K-BH, 2023 WL 4214933, at *6 (N.D. Tex. June 2, 2023),

report and recommendation adopted, No. 3:19-CV-3020-K-BH, 2023 WL 4208038 (N.D. Tex. June

27, 2023) (“at the pleading stage, a plaintiff is ‘required to allege facts permitting at least an

inference of her employer’s knowledge of her protected conduct in order to establish the required

DEFENDANT’S REPLY IN SUPPORT OF MOTION TO DISMISS PLAINTIFF’S SECOND AMENDED COMPLAINT—Page 5
FP 48676092.1
 Case 3:22-cv-02188-D-BN Document 50 Filed 11/02/23                       Page 6 of 9 PageID 586



causal link between her conduct and the alleged retaliation’” (quoting Wright v. Union Pac. R.R. Co.,

990 F.3d 428, 434 (5th Cir. 2021)).

        iii.    Disparate Impact
        Contrary to her assertion in the Response, Plaintiff’s Complaint fails to allege any facts in

connection with her purported disparate impact theory. See, e.g., Complaint at 52 ¶ 61 (alleging in

connection with her cause of action for disparate impact that she “contends Defendants knowingly,

willfully, and maliciously conspired to terminate her for reason of causing her harm”).

B.      Dismissal of Chapman’s Constitutional, Statutory, and State Law Claims is warranted.
        i.      Constitutional Claims
        While appearing to address ADT’s reasons for dismissal of her constitutional claims,

Chapman appears to simply reference a claim under 42 U.S.C. § 1981 (which fails to state a claim

for the same reasons identified above in connection with her Title VII/Chapter 21 claims).

Chapman’s Response fails to identify any well-pleaded facts supporting her remaining claims for

“procedural and substantive Due Process rights guaranteed under the United States and Texas

Constitutions” including under 42 U.S.C. § 1983 by showing ADT is a “state actor” or that any

exceptions to the state action requirement apply. See Motion to Dismiss at 13-15. Indeed, Chapman

expressly admits that she has “not provided any precedence to support her 1st amendment right to

free speech, unfair advantage and unjust enrichment.” Response at 17.

        ii.     State Law Claims
                        Intentional Infliction of Emotional Distress
        Chapman’s Response fails to respond to ADT’s argument that her claim for intentional

infliction of emotional distress fails to state a claim because it is a “gap-filler” tort and the gravamen

of her claim is covered by other common-law or statutory torts, such as her claims for race, age, and

sex discrimination, retaliation, and defamation, among others. See Hoffmann-La Roche Inc. v.

Zeltwanger, 144 S.W.3d 438, 447 (Tex. 2004) (citations and quotation marks omitted) (intentional

DEFENDANT’S REPLY IN SUPPORT OF MOTION TO DISMISS PLAINTIFF’S SECOND AMENDED COMPLAINT—Page 6
FP 48676092.1
 Case 3:22-cv-02188-D-BN Document 50 Filed 11/02/23                    Page 7 of 9 PageID 587



infliction of emotional distress has no application where the tortfeasor “intends to invade some other

legally protected interest, even if emotional distress results”). Moreover, Chapman’s Complaint fails

to allege sufficient facts regarding the purported extreme or outrageous conduct by ADT, simply

stating in a conclusory manner that ADT “repeatedly acted without regard to the conduct of [its]

actions” and its “conduct was outrageous.” Complaint at 61 ¶¶ 143-144.

                       Negligence
       Chapman’s argument regarding her negligence claim in the Response illustrates precisely

why dismissal is proper under FED. R. CIV. P. 12(b)(6): “Plaintiff asserted ‘Defendants’ were

negligent and neglected to prevent harm.” Response at 22. Chapman’s Complaint does not allege any

well-pleaded facts regarding ADT’s duty, breach thereof, or damages proximately caused by ADT’s

purported negligence—the classic threadbare recitation of the elements (incomplete at that) that

Iqbal forbids.” Iqbal, 556 U.S. 662 at 678. See also D. Houston, Inc. v. Love, 92 S.W.3d 450, 454

(Tex. 2002) (elements of negligence include legal duty owed, breach thereof, and damages

proximately caused because of the breach of a duty).

                       Interference with Plaintiff’s Expectancy and Unjust Enrichment
       Chapman’s Response appears to judicially admit that she cannot support her claims for

interference with expectancy or unjust enrichment, thus these claims should be dismissed. See

Complaint at 17 (Chapman’s admission that “she has not provided any precedence to support her 1st

amendment right to free speech, unfair advantage and unjust enrichment”).

                       Wrongful Termination/Breach of Contract
       While her Response appears to clarify that the Complaint’s wrongful termination claim is

based on contract, Chapman simply fails to plead sufficient allegations to overcome the presumption

of at-will employment under Texas law or that ADT unequivocally indicated a definite intent to be

bound to not terminate her employment except under clearly specified circumstances or conditions.


DEFENDANT’S REPLY IN SUPPORT OF MOTION TO DISMISS PLAINTIFF’S SECOND AMENDED COMPLAINT—Page 7
FP 48676092.1
 Case 3:22-cv-02188-D-BN Document 50 Filed 11/02/23                     Page 8 of 9 PageID 588



See Midland Judicial Dist. Cmty. Supervision and Corr. Dep’t v. Jones, 92 S.W. 3d 486, 488 (Tex.

2002); Crow v. Rockett Special Util. Dist., 17 S.W. 3d 320, 327 (Tex. App.— Waco 2000, pet.

denied) (employer’s policy did not overcome at-will presumption where it did not “specifically and

expressly curtail” employer’s right to terminate employees).

                       Defamation
       Chapman’s Response fails to address ADT’s argument that the Complaint fails to state a

claim for defamation because it is lacks sufficiently well-pleaded facts as to the defamatory content

or publication thereof as required under Texas law. See Mason v. Integra Peak Mgmt. Inc., 821 Fed.

App’x. 382, 383 (5th Cir. 2020) (dismissal of defamation appropriate because, among other things,

plaintiff failed to make “any plausible allegations that [the] communications were false”).

                                    III.
                 OTHER RELIEF SOUGHT BY PLAINTIFF’S RESPONSE
       In her Response, Chapman requests that the Court permit her to join other parties and appears

to ask the Court to strike ADT’s Motion to Dismiss. Response at 6-7. Although it seems unlikely that

her Response is the appropriate vehicle, Defendant opposes any such relief sought by Chapman.

Indeed, ADT contends that Chapman has failed to make the requisite showing for relief under FED.

R. CIV. P. 12(f), Rule 19, or Rule 20 and as such the relief should be denied.

                                              IV.
                                          CONCLUSION
       For the forgoing reasons, the Court should grant Defendant’s Motion to Dismiss, dismiss all

claims asserted in Plaintiff’s Complaint in their entirety with prejudice, and grant any further relief

to which the Court finds Defendant is justly entitled.




DEFENDANT’S REPLY IN SUPPORT OF MOTION TO DISMISS PLAINTIFF’S SECOND AMENDED COMPLAINT—Page 8
FP 48676092.1
 Case 3:22-cv-02188-D-BN Document 50 Filed 11/02/23                     Page 9 of 9 PageID 589



                                                   Respectfully Submitted,
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                                  CERTIFICATE OF SERVICE
        In accordance with FED. R. CIV. P. 5(b), I certify that I filed Defendant’s Reply in Support of
Motion to Dismiss Plaintiff’s Second Amended Complaint with the Clerk for the United States
District Court for the Northern District of Texas on November 2, 2023, using the Court’s Electronic
Case Filing system. The Court’s system will send a “Notice of Electronic Filing” to all counsel of
record. I further certify that I served Defendant’s Reply in Support of Motion to Dismiss Plaintiff’s
Second Amended Complaint on November 2, 2023, via email and first-class mail on:
       Ms. Sonya Chapman (snychpmn@gmail.com)
       1533 Honey Trail,
       Glenn Heights, TX 75154
       Plaintiff (Pro se)
                                                    /s/ Brent Sedge
                                                   Brent Sedge




DEFENDANT’S REPLY IN SUPPORT OF MOTION TO DISMISS PLAINTIFF’S SECOND AMENDED COMPLAINT—Page 9
FP 48676092.1
